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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MICHAEL BRENT ROTHENBERG, et al.,              Case No. 23-cv-01603-JST
                                                       Plaintiffs,
                                   8
                                                                                        ORDER CONTINUING CASE
                                                v.                                      MANAGEMENT CONFERENCE
                                   9

                                  10     FEDERAL DEPOSIT INSURANCE
                                         CORPORPORATION, et al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Court hereby continues the case management conference scheduled for November 26,

                                  14   2024 at 2:00 p.m. to February 18, 2025 at 2:00 p.m. Updated case management statements are due

                                  15   February 11, 2025.

                                  16          IT IS SO ORDERED.

                                  17   Dated: November 21, 2024
                                                                                    ______________________________________
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                                                                                                  JON S. TIGAR
                                  19                                                        United States District Judge

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